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discussion of probate issues with numerous individuals and calls with Attorney Masterson.

These expenses did not benefit the estate and were not permitted under M.G.L.A c. 215 §39.

          575.      The Law Firm of Mirick O'Connell was paid $1500 to establish a PLAN account

for the Oultons. There is no evidence that the $1500 was actually paid to PLAN. A PLAN

account was never opened for the Oultons. Instead the Oultons' assets remained in the IOLTA

account of Mirick for seven months before being turned over to Attorney Couture in his role as

SPR of the Estate of Carol Jane Oulton.

          576.      Under M.G.L.A c. 215 §39, payment for compensation and expenses of an

attorney for services rendered to the estate is to be instituted by a petition.

          577.      Attempting to probate a will or a codicil, are services that are found by the court

to be of no benefit to the estate.

          578.      Attorney Couture was unjustly enriched when he received an unreasonable

payment for the administration of the estate.

                                      COUNT SIX
                                          Fraud
                                  Fraudulent Conveyance
(C. Hladick, A. Hladick, N. Williams, Mirick O'Connell DiMallie & Lougee LLP, Attorney
                      Jason A. Port, Attorney Arthur P. Bergeron)

          579.      Plaintiff hereby avers and restates the above paragraphs of this Verified

Complaint and Demand for Jury Trial as if fully restated herein.

          580.      The powers of attorney allegedly signed by Donald and Carol Oulton were

invalid. Therefore the Conveyance of the Oulton residence was fraudulent because Defendants

knowingly and willfully used powers of attorney that were prepared and executed when the

Oultons lacked capacity.

          581.      The powers of attorney fraudulently procured arc void as a matter of law because

they were not properly witnessed.
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                                     COUNT SEVEN
                                  Declaratory Judgment
 (C. Hladick, A. Hladick, N. Williams, Colonial Health Group-Westridge, LLC, Michael
   Lincoln, Andrea Edwards, Donna DelCid, Karen Speroni, Christine French, Denise
Stephenson, Mirick O'Connell DiMallie & Lougee LLP, Attorney Jason A. Port, Attorney
                                   Arthur P. Bergeron)
      582. This is an action ibr a declaratory        pursuant to M..n. T f..'n 1 A., for the

purpose of determining a question of actual controversy between the parties as more fully

appears below.

          583.      Plaintiff here by avers and restates the above paragraphs of this Complaint as if

fidly restated herein.

          584.      There exists a justiciable controversy regarding whether the Power of Attorney

for Donald was valid, as it appears to have been signed while Donald lacked capacity to execute

it or was, at the very least, the result of undue influence.

          585.      The POA was executed in the absence of any witnesses and notarized by Mirick

O'Connell Attorney Port.

          586.      Donald had a well-documented history of chronic alcoholism, fragile health,

difficulty managing his finances, and dementia prior to his admission to Marlborough Hills

Alzheimer's unit. Donald's lack of capacity was documented by Nurse Supple and numerous

other medical professionals who cared for Donald prior to his admission to Marlborough Hills.

The Marlborough Hills Admission Agreement executed on behalf of Donald in December of

2011 was executed on Donald's behalf by C. Illadick, Donald's Health Care Agent. His Health

Care Agent may act when he lacked capacity, therefore, her execution of a contract with

Marlborough Hills indicates that she was aware that Donald lacked capacity at the time of his

admission to Marlborough Hills.




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          587.       Beginning on December 25, 2011, Marlborough Hills staff members Andrea

Edwards, Donna DelCid, Denise Stephenson, Karen Speroni, Christine French, Sauda Matovi,

and Michael Lincoln had informed Plaintiff that Plaintiff could neither visit nor communicate

with Donald "because the health care proxy had been invoked."

          588.      There also exists a justiciable controversy regarding whether the Power of

Attorney for Carol was valid, as it appears to have been signed while Carol lacked capacity to

execute it, and was, at the very least, the result of undue influence. Marlborough Hills omits all

mention of Carol's admission on November 30, 2011, in its billing records.

          589.      The POA was executed in the absence of any witnesses and notarized by Mirick

O'Connell Attorney Port.

          590.      There is a justiciable controversy over whether the signature on the Marlborough

Hills Admission Agreement that Carol allegedly signed in March of 2012 is valid or was forged.

          591.      Carol had a well-documented history of chronic alcoholism, &agile health, and

difficulty managing her finances prior to her admission to Marlborough Hills. Immediately prior

to Carol's admission to Marlborough Hills on November 30, 2011, Carol had survived a life-

threatening coma. Within 24 hours of Carol's admission to Marlborough Hills, Carol was

overdosed on I,orazepam by the staff of Marlborough Hills, which put Carol in an

"unresponsive" state and a second coma at UMass Memorial Hospital in Worcester. Carol

suffered organ failure in May of 2012 and Attorney Port informed Plaintiff, that Carol's doctors

do not believe she has long to live.

          592.      Beginning on December 25, 2011, Marlborough Hills staff members Andrea

Edwards, Donna DelCid, Denise Stephenson, Karen Speroni, Christine French, Sauda Matovi,




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and Michael Lincoln had informed Plaintiff that Plaintiff could neither visit nor communicate

with Carol "because the health care proxy had been invoked."

           593.     There exists justiciable controversy regarding whether the 2012 deed conveying

the Oulton Residence to Cynthia Bracciale is valid.

           594.     There exists a justiciable controversy as to whether the 2012 transfer effectuated a

valid conveyance, and subsequently, whether the conveyance to Cynthia Bracciale is defective

and should be voided. Plaintiff therefore seeks declaratory judgment pursuant to M.G.L. c. 231A

[CONFIRM] that any purported conveyance by the 2012 deed conveying the Oulton Residence

to Cynthia Bracciale is invalid.

           595.     There exists a justiciable controversy as to whether Mirick O'Connell Attorneys

Port and Bergeron represented Carol and Donald or whether they, in fact, represented N.

Williams and C. Hladick. Mirick O'Connell attorneys have billed the Estate of Carol for

services rendered to their "clients" after Donald and Carol died.

           596.     There exists a justiciable controversy as to whether N. Williams and C. Hladick

breached their fiduciary duty by their self-dealing in all matters related to the Oultons and their

estates.

                                             COUNT EIGHT
                                Intentional Infliction of Emotional Distress
                                             (All Defendants)
           597.     Plaintiff hereby avers and restates the above paragraphs of this Verified

Complaint and Demand for Jury Trial as if fully restated herein.

           598.     From November 2011. through the present time, the Defendant intentionally or

with knowledge or reason to know that his conduct would cause emotional distress, caused the

Plaintiff extreme emotional distress.




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          599.      The Defendants' conduct as described above was extreme and outrageous, beyond

all bounds of decency, and intolerable in a civilized community.

          600.      The Defendant's conduct caused the Plaintiff severe emotional stress of a nature

that no reasonable person could be expected to endure.

          601.      As a direct and proximate result of the conduct of the Defendants as described

herein, the Plaintiff has suffered physical and emotional injures, and other actual, consequential,

and incidental damages which proof at the time of trial will reveal.

          602.      On December 25, 2011, Plaintiff phoned Carol Oulton, only to discover that

Carol's phone had been disconnected. At this time Marlborough Employees informed the

Plaintiff that she was no longer able to contact or visit with her parents. The Marlborough Hills

employees had no lawful basis for unlawfully banning Plaintiff from contact with her parents.

This unlawful separation from the Oultons, caused Plaintiff (enter language from IIED).

          603.      From December 25, 2011, through the present time, given that the civil

conspiracy underlying this case is still ongoing in the Middlesex County Probate and Family

Court, Defendants intended to inflict emotional distress or knew or should have known that

emotional distress was the likely result of their conduct, described at length above.

          604.      Defendants' conduct, as described above, was extreme and outrageous, beyond all

possible bounds of decency, and utterly intolerable in a civilized community.

          605.      Defendants' actions caused Plaintiff emotional distress of a nature that no

reasonable person could be expected to endure.

          606.      As a direct and proximate result of the conduct of the Defendant as described

herein, Plaintiff has suffered physical and emotional injures, and other actual, consequential, and

incidental damages which proof at the time of trial will reveal.


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          607.      Considering both Donald in words, notes, and phone calls asked and begged to

see Plaintiff, and Carol, in words and in her own shaky hand handwrote a pica to allow Sarah to

see her without limitations and help her, as well as the removal of the telephones, and the

confiscation of Donald's pen and paper, Plaintiff was in great emotional distress that both she

and her parents were unsuccessful to be/speak with each other.

          608.      The suffering and the isolating treatment of Donald and Carol Outlon in their last

months of life caused the Plaintiff extreme emotional distress.

                                      COUNT NINE
                         Negligent Infliction of Emotional Distress
 (Keough + Sweeney, Ltd., Attorney Sweemey-2. AttorneySweemeu-3, Attorney S. Keough,
    Colonial Health Group-Westridge, LLC, Michael Lincoln, Andrea Edwards, Donna
  DelCid, Karen Speroni, Christine French, Denise Stephenson, The Marlborough Police
 Department, Marlborough Police Lieutenant Thomas Bryant, Marlboro Police Lieutenant
  David Giorgi, Marlborough Police Officer Robert Insani, Mirick O'Connell DiMallie &
  Lougee LLP, Attorney Jason A. Port, Attorney Arthur P. Bergeron, Martha White, The
  Town of Natick Police Department, John Everett & Sons Funeral Home, Joseph Everett,
 Dennis Cunningham, Susan Davis, Maureen Reeve, Brian Falvey, Lukc Simpson, Richard
                                            Kelly)

          609.      Plaintiff hereby avers and restates the above paragraphs of this Verified

Complaint and Demand for Jury Trial as if fully restated herein.

          610.      The Defendant's negligence as described above caused the Plaintiff to suffer

extreme emotional distress, as would a reasonable person under the circumstances, which

resulted in physical harm to the Plaintiff manifested by objective symptoms, including but not

limited to physical symptoms related to severe anxiety, mental anguish, and emotional distress.

          611.      The Defendant's conduct caused the Plaintiff to suffer severe emotional stress of a

nature that no reasonable person under the circumstances could be expected to endure.

          612.      Defendants Lincoln, Quieros, Speroni, DelCid, French, Matovu, Stephenson,

Everett, Cunningham, Falvey, Davis, Kelly, Simpson, Reeve, and Davis were negligent, as

described above, which caused Plaintiff to suffer extreme emotional distress, which resulted in
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physical harm to Plaintiff manifested by objective symptoms, including but not limited to

physical symptoms related to severe anxiety, mental anguish, and emotional distress.

          613.      The Defendants' conduct caused the Plaintiff to suffer severe emotional stress of a

nature that no reasonable person under the circumstances could be expected to endure.

          614.      Given that these Defendants are professional licensees within The

Commonwealth of Massachusetts or are employed in facilities that are licensed and regulated,

these Defendants knew or should have known that the actions they took against Plaintiff—

suddenly and unlawfully denying Plaintiff contact with her Parents, with whom Plaintiff had

been extremely close, making defamatory statements against Plaintiff designed to hurt and

damage Plaintiff and her reputation, and denying Plaintiff from the Oultons' wakes, funerals, and

burials — would result in extreme emotional distress.

          615.      The distress caused by Defendants in this case was reasonably foreseeable, either

because a reasonable person would have suffered distress under the circumstances to which

Defendants subjected Plaintiff.

          616.      As a direct and proximate result of the conduct of the Defendants' actions, as

described above, Plaintiff has suffered physical and emotional injures, and other actual,

consequential and incidental damages, which proof at the time of trial will reveal.

                                               COUNT TEN
                                        Breach of Fiduciary Duty
                                            (Attorney Couture)
          617.      Plaintiff hereby avers and restates the above paragraphs of this Verified

Complaint and Demand for Jury Trial as if fully restated herein.

          618.      On June 5, 2014, Couture in violation of section 3-504 Supervised

Administration; Powers of Administration Powers of Personal Representative, paid Mirick

O'Connell without prior order of the court. Section 3-504 states, "Unless restricted by the court,

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a supervised personal representative has, without interim orders, approving exercise of a power,

all powers, of person representatives under this code, but the personal representative shall not

exercise power to make any distribution of the estate without prior order of the court. Any other

restriction on the power of a personal representative which may be ordered by the court and must

be endorsed on the personal representative's letters of appointment and, unless so endorsed, is

ineffective as to persons dealing in good faith with the personal representative."

          619.       On June 5, 2014, Attorney COuture also paid his own invoice in the amount of

$9,436.45 without having procured assents from all heirs.

          620.      Attorney Couture was under court order issued January 31, 2014, to close out the

Special Personal Representative matter, file his First and Final Accounting, and not make any

distributions without the unanimous consent of the heirs.

          621.      Attorney Couture, in the 881 days he has held his position as fiduciary, filed his

first Accounting only after he learned of this pending lawsuit. For more than two years he did no

accounting, refused to provide Plaintiff with information and evidence to which Plaintiff has a

right, and has been unresponsive to Plaintiff's counsel.

          622.      Most recently, in October 2015, despite knowing that Plaintiff has been

represented by counsel for more than two years, Attorney Couture violated Massachusetts Rule

of Professional Conduct 4.2 and transmitted his Citation on Petition to Close directly to Plaintiff.

Plaintiff, who is represented by counsel, does not check her Post Office Box on a regular basis

and, as a result of Attorney Couture's willful and knowing ethical violation, Plaintiff missed an

important deadline by which to file her Objection to Attorney Couture's Petition

                                  COUNT ELEVEN
                                Fraudulent Inducement
  (Mirick O'Connell DiMallic & Lougee LLP, Attorney Jason A. Port, Attorney Arthur P.
                                      Bergeron )

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        • 623. Plaintiff hereby aversand restates the above paragraphs of this Verified

Complaint and Demand for Jury Trial as if fully restated herein.

          624.       On April 20, 2012 Plaintiff received an email from Attorney Vecchio and

Attorney Port wrote to Plaintiff to try to fraudulently induce her to withdraw her petition to seek

a third party conservator for her parents with false promises that if Plaintiff did so, and only if

she did so, could she see her parents again (exhibit 124).

          625.       Plaintiff ultimately did dismiss her petitions for conservatorship based on the

promise of restored visitation with her parents, but C. Illadick withheld her permission

nonetheless.

          626.      Long their primary caregiver, Plaintiff was unjustly barred from being a comfort

to her parents in the last months of their lives. Faced with possibly never seeing them again,

Plaintiff withdrew the motion for the appointment of an impartial conservator. The compromise

was a ploy, never to be realized. Plaintiff never saw her parents again

                                               COUNT TWELVE
                                                  Conversion
                               (C. Illadick, N. Williams, D. Oulton, Lt. Madick)

          627.      Plaintiff hereby avers and restates the above paragraphs of this Verified Complaint

and Demand for Jury Trial as if fully restated herein.

          628.      Plaintiff stood to inherit a one quarter share in the Estate of Donald and the Estate

of Carol, and that inheritance included a one-quarter interest in the Oultons' personal property.

Between January 8, 2012, 'the last date on which Plaintiff retrieved the Oultons' mail from the

Oulton Residence, and September                        2012, thc date on which the sale of the deed to the

Oulton Residence was conveyed to Cynthia Bracciale, the Sibling Defendants removed all.of the

Oultons' personal property, including their automobile, from the Oulton Residence. The Sibling

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Defendants converted for their own use the one-quarter interest in the Oultons' personal property

that Plaintiff stood to inherit.

          629.       As a one-quarter devisee under the will of Carol and the will of Donald, plaintiff,

at the time of the conversion, had a general or special property interest in the goods converted by

the Sibling Defendants. The Sibling Defendants intentionally, willfully, and knowingly exercised

acts of ownership, control, or dominion over personal property to which the Sibling Defendants

had no right of possession at the time.

                                         COUNT THIRTEEN
                          Formal Removal of Personal Representative (MPC 265)
                                          (Attorney Couturel

          630.       Pursuant to M.G.L. c.190B § 3-61

          631.       (Sarah A. Oulton v. Attorney Sweeney-2 and Attorney Couture)

          632.       Plaintiff hereby avers and restates the above paragraphs of this Verified

Complaint and Demand for Jury Trial as if fully restated herein.

          633.       Attorney Couture was appointed Special Personal Representative ("SPR") of the

Estate of Carol on July 25, 2013.

          634.       Attorney Couture has intentionally:

                     a.        disregarded several Orders of the Court to provide an Accounting in his

                     capacity as SPR, as described above,

                     b.        mismanaged the estate as described above;

                    c.         made improper disbursements from the Estate of Carol as described ;

                    d.         failed to perform duties pertaining to the office.




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           635.      Attorney Couture was hand-picked by Defendants Marlborough Hills and

Attorney Masterson for the sole purpose of maintaining control of the Estate of Carol so that a

disinterested, third-party fiduciary would not discover the financial wrongdoing by the

intermeddlers, i.e., the Miriek O'Connell attorneys, Plourde Boguc Moylan & Marino attorneys,

Attorney Sweeney-2, the Sibling Defendants,O and Marlborough Hills. Attorney Couture has

not represented the best interests of the Estate of Carol, evidenced by his payment of

Marlborough Hills' invoices in the absence of valid contracts between Marlborough Hills and the

Oultons, his disbursement of funds to unjustly enrich his co-Defendants in this case, his signing a

Stipulation of Dismissal of the lawsuit filed against the Estate of Carol with prejudice, and hiding

of the misappropriation of the assets of the Estate of Carol.

          636.       Despite being appointed Personal Representative of the Estate of Carol, Attorney

Couture refused to file a single Accounting with the Court until after he learned that this lawsuit

would be filed.

          637.      Attorney Couture failed to publish a Notice to Creditors.

          638.      Attorney Couture has improperly disbursed assets from the Estate of Carol and

has comingled the assets of the Estate of Carol with the assets of the Estate of Donald.

          639.      Attorney Couture made a substantial disbursement to Defendant Mirick

O'Connell despite the fact that Mirick O'Connell did not file a lawsuit against the Estate.

          640.      For the reasons set forth above and described elsewhere in this Verified

Complaint and Demand for Jury Trial, Plaintiff requests that the Court remove Attorney Couture

as Personal Representative of the Estate of Carol and Attorney Sweeney-2 as Proposed Personal

Representative of the Estate of Donald and appoint disinterested third party fiduciaries in their

place to administer the Estate of Donald and the Estate of Carol.


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                                 641. COUNT FOURTEEN
                          Deceit/Fraudulent Misrepresentation
    (Marlborough Hills, Michael Lincoln, Keough + Sweeney, Ltd., Attonrey Sweeney-2)

          642.      Plaintiff hereby avers and restates the above paragraphs of this Verified

Complaint and Demand for Jury Trial as if fully restated herein.

          643.      Michael Lincoln's affidavit to the court, signed under the pains and penalties of

perjury, stated that the Plaintiff was never banned from visits with her father. Numerous

employees of Marlborough Hills nursing home had completely banned the Plaintiff from the

premises. Mr. Lincoln's affidavit further states that says Plaintiff was continuing to visit with

her father and had only been banned from visiting Carol Oulton. Plaintiff had attempted to bring

her father a cell phone and clothes and was denied access to him and staff refused to deliver the

items to Donald Oulton, despite Mr. Oulton's need for clothes.

          644.      The affidavit of Dr. Kumar, signed under the pains and penalties of perjury, states

that Carol Oulton has been managing her finances without issue. In fact, a review of the

Oultuns' bills show that numerous services had been disconnected, or canceled due to non-

payment, including, the car insurance, the home owners insurance, Donald's BBO registration,

the water and sewer service, and others.

          645.      Attorney Jerome Sweeney falsely claimed to he the personal representative named

in the wills as the nomination to be the personal representative. In fact, Attorney Sweeney was

not named or nominated in the wills to be personal representative. Mahaney was named in the

wills as the appointed executor, but he was never contacted or notified of this appointment.

          646.      Sweeney 2 told probate court that the estate of Carol had to be probated before the

estate of Donald.




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             647.      Michael Lincoln's affidavit to the court, signed under the pains and penalties of

   perjury, contained the false statement that Plaintiff was not banned from Marlborough Hills

   before January 18, 2012. (See paragraph 25 in complaint.)

             648.      Attorney Port made numerous false declarations before the court when he claimed

   that he represented Donald and Carol (rather than C. Hladick and N. Williams), proffered

   misleading and incomplete Police reports, and continued to offer the MDEO report filed against

   Plaintiff, despite the fact that he knew that the malicious complaint filed by Edwards and

   Marlborough Hills against Plaintiff was ruled "unsubstantiated" by Springwell.. Every time

   Attorney Port offered this misleading and defamatory report to the court as evidence against the

   Plaintiff, he also included Mr. Lincoln's affidavit. As the Director of Marlborough Hills, •

   Lincoln also knew that the MDEO was determined to be unfounded.

            649.       Attorney Port offered to the court that the Oultons were not experiencing

   difficulties paying the bills. Yet the Oultons struggled for years to keep their bills paid, due to

   their chronic alcoholism and health problems, and on March 25, 2012, the Oultons' homeowners

   insurance was canceled due to non-payment.

            650.      The will of Donald Oulton contained a 30-Day Survivorship Clause. Attorney

   Masterson purposely withheld the fact of this survivorship clause from the probate court for the

   sole in order that the nursing home could be paid without issue.

            651.      The dates on Donald Oulton's Will and Codicil arc handwritten without initials of

   Dad.

            652.      Attorney Sweeney and Attorney Moylan stated in their petitions to the Court that

   the children are not devisees under the Will of Donald Oulton, when, in fact, ONLY the children

   inherit under Dad's Will because Mom did not survive him by the necessary 30 days.


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                                                         COUNT FIFTEEN
                                                    Executor De Son Tort Liability

          653. On December 28, 2012 Mirick O'Connell issued a check (Exhibit 176) to Dolphin

Seafood Restaurant in the amount of $3,745.50 drawn from an Attorney IOLTA account at People's

United Bank, a check (Exhibit 176) to Alan Bush in the amount of $1,800.00, a check (Exhibit

no to John Everett and Sons in the amount of $23,731.69, and a check (Exhibit 176) to
Glenwood Cemetery Association in the amount of $2,300.00. Mirick O'Connell had no authority

either legally or under the will to distribute any of the Oultons' funds. By holding the Oultons'

assets in the Mirick O'Connell IOLTA account and then by paying alleged creditor's Mirick

O'Connell became executor de son tort (an executor by its wrong).

                                                         PRAYER FOR RF,LIEF

WHEREFORE, Plaintiff Sarah A. Oulton respectfully requests that the Court grant her the
following relief:

I. Enter a declaratory judgment pursuant to M.G.L. c. 231A finding that:


          (a) the Powers of Attorney for Donald and Carol were invalid because they were

          executed while Donald and Carol lacked capacity to execute them, were the result of

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                                                                                                                          1, .4.44 %A A., 11.




          Williams and C. Hladick breached their fiduciary duty by their self-dealing in all matters

          related to the Oultons and their estates;


          (b) Mirick O'Connell attorneys Port and Bergeron represented N. Williams and C.

          Hladick and that neither the Estate of Carol nor the Estate of Donald is responsible for

          payment for services rendered by Mirick O'Connell to N. Williams and C. Hladick,

          therefore all funds paid to Mirick O'Connell by the Oultons through the Mortgage to

          Mirick O'Connell and by Estate of Carol must be refunded to the Estate of Carol;
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          (c) the Marlborough Hills Admissions Agreements executed on behalf of Donald and

          Carol are invalid because they were executed (i) by Carol when Carol lacked capacity to

          enter into contracts and (ii) by C. Hladick, who had no legal authority to contract on

          behalf of Donald, therefore all funds paid to Marlborough Hills and Colonial by Estate of

          Carol must be refunded to the Estate if Carol;


          (d) that the 30 day clause in the Will of Donald invalidates the inheritance by the Estate

          of Carol of the Estate of Donald, therefore all funds and property in the Estate of Donald

          which were inherited by the Estate of Carol must be refunded to the Estate of Donald;


          (e) that the 2012 transfer of the Oulton Residence effectuated an invalid conveyance, and

          subsequently, the conveyance of the Oulton Residence to Cynthia Bracciale is defective

          and should be voided;


2. Enter judgment on each and every count of the Verified Complaint and Demand for Jury Trial

    in her favor and award her damages in the amount so assessed by the jury against each

    defendant, jointly and severally;


3. Enter, a judgement removing Jerome V. Sweeney II as Personal Representative of the Estate

    of Donald and removing Michael Couture as Personal Representative of the Estate of,

    including an Order that the Estate of Donald and the Estate of Carol be probated with a

    disinterested third party appointed as fiduciary to administer the Estate of Donald and the

    Estate of Carol;


4. Award Plaintiff her attorney's fees and costs (including expert fees);


5. Award Plaintiff punitive, compensatory, and exemplary damages; and

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6. Grant Plaintiff such other and further relief as the court deems just and proper.




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                                            DEMAND FOR JURY TRIAL

PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES AND CLAIMS SO TRIABLE.



                                                             Respectfullysubmitted,

                                                             PLAINTIFF,
                                                             SARAH A. OULTON, 41Y 4         ivozatgo acg   AltortilaYs



                                                                                                     1
                                                     By:
                                                             Careen Goodwin
                                                             BBO #693188
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                                                        VERIFICATION

          1; Sarnh A: Ouiton, under the pains and penalties of perjury, dO hereby verify that the

facts set forth above are true to the best of my knowledge or, where indicated; are true based

upon my inforniation and belief. I hive Personal knowledge Of diese facts or the information,

upon which I base my belief, has been provided to m


                                                              Sarah A. Oul • n




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